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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

                                                        §
MIRROR WORLDS, LLC,
                                                        §
         Plaintiff,                                     §
                                                        §           CIVIL ACTION
                                                        §
         v.                                             §
                                                        §           6:08-cv-00088-LED
APPLE INC.,                                             §
                                                        §
         Defendant.                                     §


     DEFENDANT APPLE INC.’S OPPOSED MOTION FOR LEAVE TO PRODUCE
      CONFIDENTIAL DOCUMENTS IN CURRENTLY PENDING LITIGATION

         Defendant Apple Inc. (“Apple”) hereby files this opposed Motion for Leave to Produce

Confidential Documents from this litigation in a pending lawsuit filed by Mirror Worlds

Technologies, LLC.1         Plaintiff Mirror Worlds, LLC (“MW”) is not opposed to the production of

its Confidential Information in the Mirror Worlds II Lawsuit. In fact, MWI is not opposed to the

production of any Confidential Information from this case in the Mirror Worlds II Lawsuit.

MWI, however, wants Apple to agree to have the Confidential Information of Apple, which was

produced in this case, produced to its competitors—the named defendants in Mirror Worlds v.

MSFT Lawsuit2–without the opportunity to review such information and as appropriate restrict

the production of such information. As requested by MWI, Apple is negotiating with the MSFT

defendants on acceptable limitations on the production of Apple’s Confidential Information to

the MSFT defendants, but Apple and the MSFT defendants have not yet reached agreement.

         1
         This motion is filed pursuant to this Court’s Order in a presently pending case styled Mirror Worlds
Technologies, LLC v. Apple Inc., et al, U.S. District Court for the Eastern District of Texas, Case No. 6:13-cv-
00419 (“Mirror Worlds II Lawsuit”) (Mirror Worlds II Lawsuit, Dkt. No. 176).
         2
            Mirror Worlds Technologies, LLC v. Microsoft Corporation, et al, U.S. District Court for the Eastern
District of Texas, Case No. 6:13-cv-941 (“Mirror Worlds/MSFTI Lawsuit”)


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This requirement, which was not imposed on Apple by Mirror Worlds in the corresponding

motion in Mirror Worlds II, is delaying Mirror Worlds and Apple’s ability to access information

from the Mirror Worlds I Lawsuit. Thus, to avoid any further delay or any argument that Apple

is intentionally delaying the production of its Confidential Information to Mirror Worlds, Apple

files this opposed motion and respectfully requests that the Court grant its motion.

       As explained in the Motion for Leave filed in the Mirror Worlds II Lawsuit (Dkt No.

174), Mirror Worlds, LLC (“MW”), the plaintiff in this lawsuit, assigned U.S. Patent No.

6,006,227, and other related patents to Mirror Worlds Technologies, LLC (“Mirror Worlds”).

Mirror Worlds is currently asserting U.S. Patent No. 6,006,227, against Apple in the Mirror

Worlds II Lawsuit. MW is now known as Looking Glass LLC, which is owned by Plainfield

Special Situations Master Fund Limited. (Dkt. No. 508, Court Order, dated May 2, 2014, at 2).

       Pursuant to the terms of the Protective Order (Dkt. No. 104) in this case (“MWI

Protective Order”), outside counsel for Apple, including Paul Hastings LLP, and outside counsel

for MW, including Stroock & Stroock & Lavan LLP, had access to information designated as

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”

“PROSECUTION BAR,” “NO PROSECUTION BAR,” or “HIGHLY CONFIDENTIAL –

OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE” (collectively referred to as

“Confidential Information”). The MWI Protective Order prohibits outside counsel in this case

from producing Confidential Information received in the Mirror Worlds I Lawsuit in any other

lawsuit. Ex. A, ¶ 1(a). The MWI Protective Order further prohibits the use of Confidential

Information received in this case in any other lawsuit. Id.

       Apple has produced to Mirror Worlds in the pending Mirror Worlds II Lawsuit,

documents that Apple produced to MWI in this litigation. However, Apple has not produced



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other documents from this case that were designated Confidential Information, such as pleadings,

discovery responses, expert reports, deposition transcripts, or the document production of MW or

third parties, because of the above-referenced provisions of the MWI Protective Order.

       Because the Confidential Information from this case may be relevant to the issues in the

Mirror Worlds II lawsuit, Apple respectfully requests that the Court enter an Order allowing

outside counsel of record in this case to produce Confidential Information from this case to

outside counsel for Apple and Mirror Worlds in the Mirror Worlds II Lawsuit. Upon entry of

such an Order, Apple will instruct its counsel in this case, Paul Hastings LLP, to produce all

Confidential Information from this case in its possession to outside counsel for Apple and Mirror

Worlds in the Mirror Worlds II Lawsuit. Apple further respectfully requests that the Court enter

an Order stating that that such Confidential Information will be subject to the terms of the

Protective Order in the Mirror Worlds II lawsuit.

Dated: May 12, 2014                                  Respectfully submitted,


                                                      /s/ Hilda C. Galvan
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                                                     Attorneys for Defendant Apple Inc.


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                             CERTIFICATE OF CONFERENCE

        Immediately after this Court denied a corresponding motion filed in the presently

pending case styled Mirror Worlds Technologies, LLC v. Apple Inc., et al, U.S. District Court for

the Eastern District of Texas, Case No. 6:13-cv-00419 (“Mirror Worlds II Lawsuit”) (Mirror

Worlds II Lawsuit, Dkt. No. 176), Apple sent this proposed motion to the Plaintiff. Plaintiff

stated that it would not oppose this motion if the production of the documents in Mirror Worlds

II Lawsuit was subject to the protective order in the Mirror Worlds II Lawsuit and if Apple

agreed to produce all of the Confidential Information to the defendants in the Mirror

Worlds/MSFTI Lawsuit. Apple agreed to the protective order issue, as evidenced by the motion.

Apple has also attempted to negotiate with the defendants in the Mirror Worlds/MSFTI Lawsuit

on the production of Apple Confidential Information to the MSFT defendants. Apple and the

MSFT defendants have not yet resolved this issue. Because Apple has been unsuccessful in

persuading Plaintiff to withdraw its opposition based on the production to the MSFT defendants,

Apple must files this motion as opposed.

                                                    /s/ Hilda C. Galvan

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) this 12th day of May, 2014.



                                                    /s/ Hilda C. Galvan
